Case 5:25-cv-00135-TiES

5 ATRi¢K’” Page 1 of 10
FLYNN

J ATTORNEY AT LAW

Patrick S. Flynn* Email:pflynn@patrickflynnlaw.com

*Also admitted in Alabama
January 3, 2025

NOTICE PURSUANT TO O.C.G.A. § 36-33-5, ET SEQ.

TO: Superintendent Dale Garnto, Wilcox County Board of Education, Rochelle, Georgia its
insurers, agents, employees, lessees, assigns, affiliates and successors

By Certified Mail, Return Receipt
9589 0710 5270 2312 6458 91
Wilcox County Board of Education
Dale Garnto, Superintendent

114 7" Avenue

Rochelle, Georgia 31079
garntod@wilcoxcountyschools.org

By Certified Mail, Return Receipt
9589 0710 5270 2312 6459 07
Wilcox County Board of Education
Philip McKie — District 1

1147" Avenue

Rochelle, Georgia 31079

By Certified Mail, Return Receipt
9589 0710 5270 2312 6459 14
Wilcox County Board of Education
William Dozier — District 2

1147" Avenue

Rochelle, Georgia 31079

By Certified Mail, Return Receipt
9589 0710 5270 2312 6458 46
Wilcox County Board of Education
Morris Holloway -District 3

114 7 Avenue

Rochelle, Georgia 31079

By Certified Mail, Return Receipt
9589 0710 5270 2312 6458 53
Wilcox County Board of Education
Berry Collier-District 4

114 7 Avenue

Rochelle, Georgia 31079
Post Office Box 7 (31702) P: 229.446.4886
517 W. Broad Avenue Fax: 229.446.4884

Albany, Georgia 31701 www.patrickflynniaw.com
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By Certified Mail, Return Receipt
9589 0710 5270 2312 6458 60
Wilcox County Board of Education
Denita Childs -District 1

114 7 Avenue

Rochelle, Georgia 31079

By Certified Mail, Return Receipt
9589 0710 5270 2312 6458 77
Wilcox County High School

Chad Davis, Principal

1358 GA Highway 215 S.

Rochelle, GA 31079
Davisc2@wilcoxcountyschools.org

NOTICE OF CLAIMS PURSUANT TO APPLICABLE LAW, INCLUDING

O.C.G.A. § 36-33-5, ET SEQ. RELATED TO AN INCIDENT RESULTING IN
INJURIES, MEDICAL BILLS, PAIN AND SUFFERING AND ALL OTHER

CLAIMS ARISING OUT OF THE INJURIES SUFFERED BY E.M.

RE: Date and | Ongoing injuries and damages beginning on or about May 11,
Time of 2023.
Injury:

Place of | Wilcox County High School, Georgia

Injury: Rochelle, Georgia

Our E.M. (Client’s initials provided to protect her confidentiality)
Client:

Extent of | Permanent physical, emotional and mental injuries

Injuries:

Negligence | Injuries and damages for failure to monitor and terminate Mr.
causing Dennard and closely monitor the situation with E.M. after they had
injuries been apprised of the parents’ concerns.

Demand $3,000,000.00

Dear Superintendent Garnto and Board Members,

Notice is hereby given to the Wilcox County Board of Education that the undersigned law
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firm represents E.M.' This Notice is given to the Wilcox County Board of Education as may be
required by law and is given on behalf of the above-stated claimants pursuant to OCGA §36-11-1
et seq. and any other laws, statutes, rules, or regulations requiring the preservation of claims against
governmental entities. This notice I presented with 12 months of when E.M.’s claim accrued. This
is because E.M. recently turned 18, and pursuant to O.C.G.A. §36-11-1, her disability is removed
at the time she turns 18.

This claim has its genesis when E.M. was a 16-year-old 10" grade student at Wilcox
County High School. E.M. had been acting inappropriately. Her parents confronted her about her
behavior. As a result of a Snapchat emoji depicting an older person, the parents became suspicious
that she was having an inappropriate relationship with an older man. The parents of E.M. attended
an Honor’s Day ceremony to watch their child receive an award in the Spring of 2023. E.M. did
not attend the ceremony. The parents became increasingly suspicious that E.M. was involved in
an inappropriate relationship with one of the coaches at Wilcox County High School. This
suspicion was only emboldened from the fact that when they attended the Honors Day ceremony
their child remained in “Coach Woody’s” classroom. The parents wanted to confront Coach
Woody about their discovery. The parents were intercepted in the hallway by the Assistant
Principal at Wilcox County who inquired as to why they were in the school. The parents relayed
their concerns. On that same day, E.M.’s parents met with the principal and assistant principal of
Wilcox County High School at which time they told of a snapchat from who they believed to be a
coach at the high school. Since E.M. was spending an inordinate amount of time in Coach
Woody’s classroom, the School assured that the parents of E.M. “the Schoo! would look into it.”

The school confronted Coach Woody whereby Coach Woody told the school that he was
not having a relationship with EM. However, Coach Woody was aware that Mr. Lorenzo Dennard
had been snapchatting with E.M. previously. In fact, Coach Woody had cautioned E.M. about
becoming involved with Mr. Dennard based on the previous Snapchats and his observations from
interactions between E.M. and Mr. Dennard in his classroom. Coach Woody had witnessed flirting
and even inappropriate physical contact. Coach Woody and Lorenzo Dennard were very close and
even called each other “brothers.” Coach Woody was aware Lorenzo Dennard was having an
inappropriate relationship with E.M.

Coach Woody told the School about the “Snapchatting” and the inappropriate conduct.
However, the School told the parents of E.M. that they were not aware of anything inappropriate
taking place. The School failed to take any action. The School did not terminate Coach Dennard.
The School undertook no further action to make certain that Mr. Dennard was not allowed to come
into contact with E.M. pending investigation. The School failed to honor its obligation to report
this conduct to law enforcement for an appropriate investigation. As a result, the parents of E.M.
harbored under the misguided belief that there was no inappropriate or unlawful relationship
ongoing. Ultimately, the School forced Mr. Dennard to leave his employment. The hope was that
forcing him to leave would allow his actions to go undetected and be “swept under the rug.”

1F.M.is the young lady that was recently the victim of sexual assault at the hands of your employee, Lorenzo
Dennard. You are aware of her identity, and she is being referred to as E.M.in an effort to protect her identity and
maintain her confidentiality.
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Unfortunately, the relationship was continuing as Mr. Dennard was not investigated by law
enforcement. Mr. Dennard continued to inappropriately and surreptitiously contact E.M. by text
and snapchat. Pornographic images were sent to E.M.by Mr. Dennard. This all culminated in Mr.
Dennard forcing E.M.to engage in compromising sexual activities. It was not until E.M. suffered
an emotional breakdown following this horrific encounter that E.M.’s parents discovered that their
daughter had been sexually abused by the Mr. Dennard. The discovery of this event took place on
June 20, 2024. Upon the discovery of this vile and alarming information concerning their daughter,
E.M.’s parents immediately contacted law enforcement. After contacting law enforcement, Mr.
Dennard was arrested as it was discovered that he had been texting and snapchatting E.M. sexually
explicit images. Mr. Dennard was arrested for his conduct. Of course, if the School had
investigated what E.M.’s parents had informed them, then none of this would have happened.

While our investigation of the facts surrounding this incident continues, and without
waiving the right to assert additional or different bases for E.M.’s claims at a later date, E.M.’s
claims against Wilcox County School District include, but are not limited to Childhood Sexual
Abuse under the Hidden Predator Act (OCGA § 9-3-33.1), respondeat superior, negligent hiring
and training, negligent infliction of emotional distress and federal claims under Title Ix. The
School District’s basis for liability is not only based upon its status as the employer of Mr. Dennard
but also in its aiding of Mr. Dennard harassment by the authority granted to him by the schoo!
district over E.M.as a student.

In the event Wilcox County School Board does not satisfactorily resolve these claims, E.M.
intends to initiate a suit for the claims stated above for E.M.’s injuries, including pain and suffering,
and any and all other damages as permitted under applicable Georgia and federal law, including
punitive damages and attorney’s fees. Due to these unlawful acts, E.M. suffers from emotional
distress manifesting itself in mental health complications, medical bills and pain and suffering.
E.M. hereby claims losses in the amount of three million dollars ($3,000,000.00). E.M.is
undergoing therapy for these claims. If these claims cannot be settled without limitation, this
amount shall not be binding on the claim and a recovery of greater sum is permitted. Maryon v.
City of Atlanta, 149 Ga. 35 (1919).

Service of this notice is being made upon the above listed persons as the appropriate
representatives to receive such Notice of Claim. If you contend there is any other person who
should be notified or if you contend this letter does not provide you with sufficient information or
notice pursuant to O.C.G.A. § 36-33-5, please contact me immediately and we will correct any
deficiencies. Otherwise, you will be deemed to have waived any such contentions or will be
considered to be estopped from contending otherwise.

Further, you are advised that this notice is given pursuant to O.C.G.A. § 36-33-5 which
provides, “Upon the presentation of such claim, the governing authority shall consider and act
upon the claim within 30 days from the presentation.” This notice is provided to afford the School,
its agents, employees, lessees, assigns, affiliates, successors, and their insurance carriers, if any,
sufficient information to allow an investigation of these claims and to adjust and settle these claims
if they so desire. The undersigned will look forward to hearing from you withing 30 days of the
presentment of these claims.
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Page 5 of 5

Respectfully submitted, this 24 day of January, 2025.

JARO

Patrick S. Flynn
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USPS Tracking’

FAQs >

Tracking Number: Remove X

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Copy Add to Informed Delivery (https://informeddelivery.usps.com/)

Latest Update

Your item was delivered to an individual at the address at 3:23 pm on January 6, 2025 in ROCHELLE, GA
31079.

Get More Out of USPS Tracking:
USPS Tracking Plus®

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Delivered, Left with Individual

ROCHELLE, GA 31079
January 6, 2025, 3:23 pm

@ Arrived at USPS Regional Facility

MACON GA DISTRIBUTION CENTER
January 5, 2025, 8:57 am

® Arrived at USPS Regional Facility

JACKSONVILLE FL DISTRIBUTION CENTER
January 4, 2025, 1:33 am

@ Hide Tracking History

What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)

Text & Email Updates

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» PS Form 3811, July 2020 PSN 7530-02-000-9053

Domestic Return Receipt
